Case 3:12-cv-03895-TEH Document 24 Filed 12/14/12 Page 1 of 2
Case 3:12-cv-03895-TEH Document 24 Filed 12/14/12 Page 2 of 2




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